                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                            3:20-CR-00332-RJC-DSC

USA,                                                )
                                                    )
                            Plaintiff,              )
    v.                                              )               ORDER
                                                    )
JASON DEMARCUS HEMPHILL,                            )
                                                    )
                            Defendant.              )
                                                    )

         THIS MATTER is before the Court upon motion for a third continuance of

this 18 U.S.C. § 922(g) case following counsel contracting COVID-19 in late

November 2020. (Doc. No. 18).

         In order to protect the defendant’s interest in a speedy trial, the Court finds a

statement of the defendant’s own position on counsel’s requested continuance would

assist the determination under 18 U.S.C. § 3161(h)(7)(A).

         IT IS, THEREFORE, ORDERED that counsel shall file a pleading after

consulting with the defendant stating whether the defendant consents to the

requested continuance. After such pleading is filed, the Court will determine the

merits of the instant motion.

 Signed: January 11, 2021




         Case 3:20-cr-00332-RJC-DSC Document 19 Filed 01/12/21 Page 1 of 1
